                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:11-CR-20
v.                                                    )
                                                      )       Chief Judge Curtis L. Collier
FRANK ZEPEDA                                          )


                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the three-count

Superseding Indictment; (2) accept Defendant’s plea of guilty to a portion of Count 1 of the

Superseding Indictment, that is, conspiracy to distribute 500 grams or more of a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in violation

of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(B); (3) adjudicate Defendant guilty of the charges set forth

in a portion of Count 1 of the Superseding Indictment, that is, conspiracy to distribute 500 grams

or more of a mixture and substance containing a detectable amount of cocaine, a Schedule II

controlled substance, in violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(B); (4) defer a decision

on whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

custody until sentencing in this matter (Court File No. 52). Neither party filed a timely objection

to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

magistrate judge’s report and recommendation (Court File No. 52) pursuant to 28 U.S.C. § 636(b)(1)

and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

               Indictment is GRANTED;



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      (2)   Defendant’s plea of guilty to a portion of Count 1 of the Superseding Indictment, that

            is, conspiracy to distribute 500 grams or more of a mixture and substance containing

            a detectable amount of cocaine, a Schedule II controlled substance, in violation of

            21 USC §§ 846, 841(a)(1) & 841(b)(1)(B) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the charges set forth in a portion of

            Count 1 of the Superseding Indictment, that is, conspiracy to distribute 500 grams

            or more of a mixture and substance containing a detectable amount of cocaine, a

            Schedule II controlled substance, in violation of 21 USC §§ 846, 841(a)(1) &

            841(b)(1)(B);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Thursday, November 17, 2011 at 9:00 a.m. before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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